                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

DONNA LOU, III                                      *            CIVIL ACTION

VERSUS                                              *            NO. 21-80

SHERIFF JOSEPH P. LOPINTIO, III ET AL *                          SECTION “D-2"

*      *       *     *     *    *      *      *     *

     STATEMENT OF UNCONTESTED MATERIAL FACTS IN SUPPORT OF
      PARTIAL MOTION TO DISMISS THE FEDERAL CLAIMS AGAINST
    SHERIFF LOPINTO IN HIS OFFICIAL CAPACITY PURSUANT TO FED. R.
                               CIV. P. 56

       MAY IT PLEASE THE COURT:

       Defendant, Sheriff Joseph P. Lopinto, III, in his official capacity as the Sheriff of

Jefferson Parish, respectfully submits the following statement of uncontested material

facts in support of his Motion for Summary Judgment:

1.     The JPSO provided extensive training in all the areas identified in Plaintiffs’

Complaint and throughout the entirety of this litigation.

2.     The JPSO trains its Deputies in the laws and policies governing the seizure of a

person, including the use of force. See Corporate Deposition of JPSO Sergeant

Pizzalota, attached as Exhibit 1, at 100-101, 103-109, 117-119, 161-163, 174-175.

3.         The JPSO trains its Deputies in the use of choke holds, which are strictly

prohibited unless absolutely necessary to preserve life. See Corporate Deposition of

JPSO Sergeant Pizzalota, attached as Exhibit 1, at 55-58, 97, 129.
4.    The JPSO trains its Deputies in the use of defensive tactics and martial arts holds,

which again exclude the use of choke holds. Id. at 128-129.

5.     The JPSO trains its Deputies in passive and active resistance and in confronting.

Id. at 79-82.

6.     The JPSO trains its Deputies in deescalation techniques when dealing with the

public. Id. at 83-84, 110-112.

7.     The JPSO trains its Deputies in dealing with emotionally disturbed persons. Id.,

at 114-115.

8.    The JPSO trains its Deputies in confronting people exhibiting signs of what is

often referred to as Excited Delerium, which was a contributing cause of death in this

case. Id., at 40-46, 48-53, 130-131.

9.    The JPSO trains its Deputies in providing medical attention to those in need. Id.,

at 129, 131-133.

10.   The JPSO trains its Deputies that the hogtying technique is strictly prohibited. Id.,

at 74, 89.

11.   The JPSO trains its Deputies in restraining persons in the prone position. Id., at

53-55, 64-66, 68, 70, 76, 91, 135, 172.

12.   The JPSO trains its Deputies when and how to place persons in a recovery

position. See Exhibit 1, at 62-66, 69-73, 77, 91, 94.

13.   The JPSO trains its Deputies in the use of the T.A.R.P. (Total Appendage Restrain

Procedure) technique. Id., at 73, 85, 87-95.
14.   The JPSO trains its Deputies in the use of the RIPP hobble (restraining device for

dealing with combative persons). Id., at 35-39, 52-53, 87-95, 135.

15.   The JPSO trains its Deputies in dealing with persons with emotional and

intellectual challenges, including autistic persons. See Corporate Deposition of JPSO

Sergeant Voltolina, attached as Exhibit 2.

                                       Respectfully submitted,

                                      /s/ James B. Mullaly
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